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                                                                                                                                                Jamie Shelton <jeshelton595@gmail.com>



 Student Loan Underwriting Department
 2 messages

 Daniel Mamos <danny@studentservicing.net>                                                                                                                             Mon, May 7, 2018 at 1:38 PM
 To: jeshelton595@gmail.com

   .

   Hello James ,

   Thank you for allowing use to assist you with your Federal Student Loan Forgiveness Application. We spoke a while back regarding Loan Forgiveness,
   are you still interested in applying/enrolling, OR did you change your mind altogether? Please let me know either way so I don't call again.

   Below I'm re-sending my info as promised. I encourage you to do your research as to what the current administration is doing and how they are
   changing Federal laws that directly affect YOU & your Federal and/or Private Student Loans. (Google it).

   Know your rights, here is a video and some recent articles about Student Loan forgiveness:


               Can you Relate? Her student loan story is shared by Millions.

               Behind on your student loans? Some want the government to keep you from working.

               US’ largest student loan company, Navient, cheated millions, suit alleges

               Federal Forgiveness Program is a Federal Law.

               In certain situations, you can have your federal student loan forgiven, canceled, or discharged.


   Below is all of my company and contact information as well as our License & Certifications which are required in order to do your
   enrollments for Dept Of Education.

   If you wish to no longer be contacted by our Firm, kindly respond to this email with a request to STOP all communications.


   Thanks so much,

   Daniel Mamos

   Certified Student Loan counselor
   National Student Assist LLC
   NATIONAL STUDENT ASSIST WEBSITE
   800-264-2655 Extension 1007

   Client Referral Coordinator
   GM Law Firm, LLC

   CERTIFICATIONS BELOW
   IAPDA: International Association of Professional Debt Arbitrators




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   may be legally protected from disclosure. If you are not the intended recipient of this message, or if this message has been sent to you in error, please immediately notify the sender by reply
   email and then delete this message and any attachments. If you have received this message in error you are hereby notified that any use, dissemination, copying, or storage of this message or
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 Jamie Shelton <jeshelton595@gmail.com>                                                                                          Wed, May 23, 2018 at 3:02 PM
 To: Daniel Mamos <danny@studentservicing.net>

   Dear Mr. Mamos,

   My name is James Shelton. I write to bring to your attention a telemarketing concern of mine. On May 7, 2017 at 1:18 PM, I received a prerecorded call
   from "Steven" who told me to call 650-338-1440 after . I called that number back, and I was connected with your company, and received an e-mail from
   your company soliciting your services. I did not provide my consent to your company or any third-party agents to make telemarketing calls to me. My
   telephone number, 484-626- 3942, is on the National Do Not Call List. It is my understanding that according to the Telephone Consumer Protection Act
   (“TCPA”), it is illegal to make marketing calls to someone on the Federal Do Not Call List without first obtaining the express consent of the recipient.
   Furthermore, the call was made using an automatic telephone dialing system (ATDS).

   Please forward to my attention all documents that evidence any purported consent to receive telemarketing calls from your company, as well as any other
   documents that support a claim that there is no relationship between the company that made the calls and your company, if that’s your claim. Additionally,
   please immediately place my number 484-626-3942 on your Do-Not-Call list and provide me with a copy of your Do-Not-Call policy. Before I proceed with
   a formal claim, I wanted to give your company the opportunity to explain its actions. Please forward this information to my attention by e-mail
   (jeshelton595@gmail.com) or a USPS letter by May 30, 2018.


   Very truly yours,

   James E. Shelton
   316 Covered Bridge Road
   King of Prussia, PA 19406


   [Quoted text hidden]




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